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   Tel: (310) 590-3927
 5 Attorneys for Plaintiff
 6 ENTTech
             Media Group LLC, and
   for Counsel Robert Tauler, Esq. and
 7 Tauler Smith LLP
 8
 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
        ENTTECH MEDIA GROUP LLC                Case No. 2:20-cv-06298-JWH (Ex)
12
                    Plaintiff,                 Assigned to Hon. John W. Holcomb
13                                             Courtroom 2
               v.
14                                             DECLARATION OF ROBERT E.
        OKULARITY, INC., et al.                KOHN IN RESPONSE TO ORDER
15                                             TO SHOW CAUSE RE SANCTIONS
                    Defendants.                UNDER RULE 11(c)(3) OF THE
16                                             FEDERAL RULES OF CIVIL
                                               PROCEDURE [DKT. 54]
17
                                               Hearing Date:      December 11, 2020
18                                             Time:              9:00 a.m.
                                               Place:             By videoconference
19
                                               Hon. JOHN W. HOLCOMB
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28
                                  DECLARATION OF ROBERT E. KOHN
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 1                          DECLARATION OF ROBERT E. KOHN
 2          I, Robert E. Kohn, Esq., declare:
 3          1.    I am counsel for Plaintiff ENTTech Media Group LLC (“ENTTech”), which
 4 is the named Plaintiff in this action, and for Counsel Robert Tauler (“Tauler”) and Tauler
 5 Smith LLP (“TSLLP”). The facts set forth in this Declaration are true of my own
 6 knowledge, and if called upon to testify, I could and would testify as thereto.
 7          2.    Pursuant to the Court’s Order to Show Cause, ENTTech has elected option
 8 number (2). See Dkt. 54 at 5. The Third Amended Complaint (or “TAC”) of November
 9 13, 2020 cures each of the allegedly offending allegations in the First Amended
10 Complaint (the “FAC,” Dkt. 23) that Defendants challenged in their Joint Notice of
11 Motion and Motion for Sanctions (the “Motion,” Dkt. 39), namely:
12
13       • “Okularity does this [sends DMCA takedown notices] without any of the
14          investigation, warning, or legal analysis required by the DMCA ...” (FAC ¶ 15.)
15
16       • “Through its proprietary software, Okularity automatically generates and submits
17          DMCA Notices to any social media platform, including Instagram, containing an
18          Image in Okularity’s database.” (FAC ¶ 15.)
19
20       • “By automatically generating and submitting DMCA Notices, Okularity has failed
21          to follow the terms of the DMCA.” (FAC ¶ 17.)
22
23       • “Defendants (1) are engaged in a scheme to deprive Plaintiff of its digital assets
24          through a pattern of fraudulent statements made in DMCA Notices ...” (FAC ¶ 18.)
25
26       • “Plaintiff’s CEO immediately contacted Defendants, and was faced with the
27          extortionate demand of $4.6 million dollars ...” (FAC ¶ 23.)
28
                                                1
                                   DECLARATION OF ROBERT E. KOHN
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1
2        • “However, since the DMCA Notices are automatically generated and submitted
3           without any attorney supervision, Okularity does not engage in any analysis prior
4           to generating and filing DMCA takedown notices as it should.” (FAC ¶ 27.)
5
6        • “It was only after Okularity filed forty-eight (48) DMCA take-down notices
7           against Paper that Instagram disabled Paper’s account.” (FAC ¶ 29.)
8
9        • “On at least 48 instances in 2019 and 2020 Defendants willfully, knowingly and
10          materially made third-party §512(f) misrepresentations to Instagram stating that
11          Plaintiff's images, some over three years old, were infringing intellectual property
12          rights owned by one of the Clearinghouse Defendants.” (FAC ¶ 37.)
13
14       • “Defendants [sic] misconduct includes its failure to take into consideration ‘fair
15          use’ as a defense to their alleged claims.” (FAC ¶ 40.)
16
17       • “Not only did Defendants fail to consider fair use []” (FAC ¶ 41.)
18
19       • “Clear that Okularity has any right to send DMCA notices on behalf of Backgrid,
20          Splash or Xposure”) (FAC ¶ 41)
21
22       • “Okularity sent fraudulent notices to Instagram ...” (FAC ¶ 50.)
23
24       • “Okularity (acting through Nicolini), submitted the DMCA notices to Instagram []
25          on behalf of their principals [the Photo Agencies].” (FAC ¶ 51)
26
27       • “When Okularity ... submitted the DMCA notices to Instagram ... Nicolini knew
28
                                                2
                                   DECLARATION OF ROBERT E. KOHN
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 1          (and thus, Okularity and all of its principals also knew) that no ‘good faith’ basis
 2          existed for believing that Plaintiff’s uses of the images were unauthorized.” (FAC
 3          ¶ 51.)
 4
 5       • “Rather, the Defendants all knew that the notices were based solely on the results
 6          of a software application created to scan the internet for copies of images in which
 7          copyrights had been claimed – without any inquiry (much less, a good faith
 8          inquiry) into whether the uses of those images were “authorized by the copyright
 9          owner, its agent, or the law.” (FAC ¶ 51.)
10
11       • “improper DMCA notices” (FAC ¶ 52.)
12
13       • “purposely without regard to the truth or falsity of the allegation that any of
14          Plaintiff’s uses of the photographs was prohibited by law.” (FAC ¶ 53.)
15
16          3.       Exhibit A hereto is a comparison of the new TAC with the earlier FAC.
17 This comparison is demonstrative. It illustrates how the TAC cures the FAC’s allegedly
18 offending allegations.
19          4.       Filing the TAC and submitting the attached comparison with the FAC does
20 not concede or admit that any of those allegedly offending allegations actually did offend
21 Rule 11 of the Federal Rules of Civil Procedure. To the contrary, they did not.
22
23          I declare under penalty of perjury under the laws of the United States that the
24 foregoing is true and correct. This declaration is executed on this 13th day of November,
25 2020, at Los Angeles, California.
26
                                                    /s/ Robert E. Kohn
27                                                  Robert E. Kohn, Esq.
28
                                                  3
                                     DECLARATION OF ROBERT E. KOHN
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 1                               CERTIFICATE OF SERVICE
 2       I hereby certify that on November 1 , 2020, copies of the foregoing document
 3 were served by the Court’s CM/ECF system to all counsel of record in this action.
 4
      DATED: November 1 , 2020                   TAULER SMITH LLP
 5
                                                 By:   /s/ Robert E. Kohn
 6
                                                       Robert E. Kohn
 7                                                     Of Counsel
 8
                                                 Attorneys for Plaintiff
 9                                               ENTTech Media Group LLC, and
10                                               for Counsel Robert Tauler, Esq. and
                                                 Tauler Smith LLP
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